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11 Attorneys for Plaintiff,
   Lina Alhanbly
12
13
                            UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15                               WESTERN DIVISION
16
17 Lina Alhanbly,                         Case No.:
18
                       Plaintiff,         COMPLAINT FOR DAMAGES
19
20         vs.                            FOR VIOLATIONS OF:
                                           1. THE TELEPHONE CONSUMER
21
     Westlake Financial,                   PROTECTION ACT;
22                                         2. THE ROSENTHAL FAIR DEBT
                       Defendant.          COLLECTION PRACTICES ACT
23
24                                        JURY TRIAL DEMANDED
25
26
27
28
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 1         Plaintiff, Lina Alhanbly (hereafter “Plaintiff”), by undersigned counsel, brings
 2
     the following complaint against Westlake Financial (hereafter “Defendant”) and
 3
 4 alleges as follows:
 5                                      JURISDICTION
 6
           1.     This action arises out of Defendant’s repeated violations of the
 7
 8 Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”), and repeated
 9 violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788,
10
   et seq. (“Rosenthal Act”).
11
12         2.     Jurisdiction of this Court arises under 47 U.S.C. § 227(b)(3), Cal. Civ.
13 Code 1788.30(f), 28 U.S.C. § 1331 and 28 U.S.C. § 1367.
14
        3.    Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
15
16 the acts and transactions giving rise to Plaintiff’s action occurred in this district and/or
17
     where Defendant transacts business in this district.
18
19                                          PARTIES

20         4.     Plaintiff is an adult individual residing in Lancaster, California, and is a
21
     “person” as defined by 47 U.S.C. § 153(39) and Cal Civ. Code § 1788.2(g).
22
23         5.     Plaintiff is a “debtor” as defined by Cal. Civ. Code § 1788.2(h).

24         6.     Defendant is a business entity located in Los Angeles, California, and is a
25
     “person” as the term is defined by 47 U.S.C. § 153(39) and Cal Civ. Code §
26
27 1788.2(g).
28


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                                                              COMPLAINT FOR DAMAGES
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 1           7.    Defendant, in the ordinary course of business, regularly, on behalf of
 2
     itself or others, engages in the collection of consumer debts, and is a “debt collector”
 3
 4 as defined by Cal. Civ. Code § 1788.2(c).
 5
 6                    ALLEGATIONS APPLICABLE TO ALL COUNTS

 7           8.    Plaintiff is a natural person allegedly obligated to pay a debt asserted to
 8
     be owed to Defendant.
 9
10           9.    Plaintiff’s alleged obligation arises from a transaction in which property,
11 services or money was acquired on credit primarily for personal, family or household
12
   purposes and is a “consumer debt” as defined by Cal. Civ. Code § 1788.2(f).
13
14           10.   At all times mentioned herein where Defendant communicated with any
15
     person via telephone, such communication was done via Defendant’s agent,
16
17 representative or employee.
18           11.   At all times mentioned herein, Plaintiff utilized a cellular telephone
19
     service and was assigned the following telephone number: 661-XXX-9407 (hereafter
20
21 “Number”).
22           12.   Defendant placed calls to Plaintiff’s Number in an attempt to collect a
23
     debt.
24
25           13.   The aforementioned calls were placed using an automatic telephone
26
     dialing system (“ATDS”) and/or by using an artificial or prerecorded voice
27
     (“Robocalls”).
28


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                                                               COMPLAINT FOR DAMAGES
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 1         14.    During a live conversation that occurred on or about May 10, 2017,
 2
     Plaintiff assured Defendant that she would be making payments towards the alleged
 3
 4 debt and requested that Defendant cease calling her Number.
 5         15.    In response, Defendant stated that it uses an automatic calling system and
 6
     that the calls would continue until it received a payment.
 7
 8         16.    In addition, Defendant misrepresented that it was unable to stop the
 9
     automated calls to Plaintiff’s Number.
10
11         17.    Thereafter, Defendant continued to call Plaintiff’s Number in an

12 excessive and harassing manner.
13
           18.    Defendant’s calls directly and substantially interfered with Plaintiff’s
14
15 right to peacefully enjoy a service that Plaintiff paid for and caused Plaintiff to suffer
16 a significant amount of anxiety, frustration and annoyance.
17
18                                          COUNT I
19
      VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT, 47
20                         U.S.C. § 227, et seq.
21
           19.    Plaintiff incorporates by reference all of the above paragraphs of this
22
23 complaint as though fully stated herein.
24         20.    The TCPA prohibits Defendant from using, other than for emergency
25
     purposes, an ATDS and/or Robocalls when calling Plaintiff’s Number absent
26
27 Plaintiff’s prior express consent to do so. See 47 U.S.C. § 227(b)(1).
28


                                                 4
                                                              COMPLAINT FOR DAMAGES
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 1          21.    Defendant’s telephone system has the earmark of using an ATDS in that
 2
     Plaintiff, upon answering calls from Defendant, Plaintiff was met with a live agent;
 3
 4 however, Defendant admitted it called Plaintiff’s Number using ATDS.
 5          22.    Defendant called Plaintiff’s Number using an ATDS without Plaintiff’s
 6
     consent in that Defendant either never had Plaintiff’s prior express consent to do so or
 7
 8 such consent was effectively revoked when Plaintiff requested that Defendant cease
 9
     all further calls.
10
11          23.    Defendant continued to willfully call Plaintiff’s Number using an ATDS

12 knowing that it lacked the requisite consent to do so in violation of the TCPA.
13
            24.    Plaintiff was harmed and suffered damages as a result of Defendant’s
14
15 actions.
16          25.    The TCPA creates a private right of action against persons who violate
17
     the Act. See 47 U.S.C. § 227(b)(3).
18
19          26.    As a result of each call made in violation of the TCPA, Plaintiff is
20
     entitled to an award of $500.00 in statutory damages.
21
            27.    As a result of each call made knowingly and/or willingly in violation of
22
23 the TCPA, Plaintiff may be entitled to an award of treble damages.
24
25                                          COUNT II
26
            VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION
27                 PRACTICES ACT, Cal. Civ. Code § 1788, et seq.
28


                                                 5
                                                              COMPLAINT FOR DAMAGES
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 1         28.     Plaintiff incorporates by reference all of the above paragraphs of this
 2
     complaint as though fully stated herein.
 3
 4         29.     The Rosenthal Act was passed to prohibit debt collectors from engaging
 5 in unfair and deceptive acts and practices in the collection of consumer debts.
 6
         30. Defendant caused Plaintiff’s telephone to ring repeatedly or continuously
 7
 8 to annoy Plaintiff, in violation of Cal. Civ. Code § 1788.11(d).
 9
           31.     Defendant communicated with Plaintiff with such frequency as to be
10
11 unreasonable, constituting harassment, in violation of Cal. Civ. Code § 1788.11(e).
12         32.     Plaintiff was harmed and is entitled to damages as a result of Defendant’s
13
     violations.
14
15
                                    PRAYER FOR RELIEF
16
           WHEREFORE, Plaintiff prays for judgment against Defendant for:
17
18                 A. Statutory damages of $500.00 for each call determined to be in violation
19                    of the TCPA pursuant to 47 U.S.C.§ 227(b)(3);
20
                   B. Treble damages for each violation determined to be willful and/or
21
22                    knowing under the TCPA pursuant to 47 U.S.C.§ 227(b)(3);
23
                   C. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
24
25                 D. Statutory damages of $1,000.00 for knowingly and willfully committing

26                    violations pursuant to Cal. Civ. Code § 1788.30(b);
27
28


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                                                              COMPLAINT FOR DAMAGES
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 1             E. Costs of litigation and reasonable attorneys’ fees pursuant to Cal. Civ.
 2
                  Code § 1788.30(c);
 3
 4             F. Punitive damages; and
 5             G. Such other and further relief as may be just and proper.
 6
 7                TRIAL BY JURY DEMANDED ON ALL COUNTS
 8
 9
10 DATED: September 27, 2017                  TRINETTE G. KENT
11
                                              By: /s/ Trinette G. Kent
12                                            Trinette G. Kent, Esq.
13                                            Lemberg Law, LLC
                                              Attorney for Plaintiff, Lina Alhanbly
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                                                           COMPLAINT FOR DAMAGES
